Case 18-09108-RLM-11               Doc 498        Filed 05/14/19         EOD 05/14/19 14:12:20              Pg 1 of 11



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 In re:                                                               Chapter 11

 USA GYMNASTICS, 1                                                    Case No. 18-09108-RLM-11

                    Debtor.


                   REPLY TO OBJECTION OF THE NATIONAL
       GYMNASTICS FOUNDATION TO THE ADDITIONAL TORT CLAIMANTS
       COMMITTEE OF SEXUAL ABUSE SURVIVORS’ MOTION PURSUANT TO
      RULE 2004 DIRECTING PRODUCTION OF DOCUMENTS AND MATERIALS
          The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Sexual

 Abuse Survivors’ Committee”) appointed in this case under chapter 11 of title 11 of the United

 States Code (the “Bankruptcy Code”) hereby submits its reply to the Objection of the National

 Gymnastics Foundation to the Additional Tort Claimants Committee of Sexual Abuse Survivors’

 Motion Pursuant to Rule 2004 Directing Production of Documents and Material (the

 “Objection”) [Doc 482], filed by The National Gymnastics Foundation, Inc. (the “NGF”).

                                     I. PRELIMINARY STATEMENT

          The Sexual Abuse Survivors’ Committee filed its Motion 2 on April 26, 2019 seeking an

 order pursuant to Federal Rule of Bankruptcy Procedure (“FRPB”) 2004 compelling NGF to

 produce specific documents. The Motion set forth undisputed facts showing NGF was controlled

 by the Debtor, their finances and mission were closely intertwined and that they engaged in

 multiple transactions with each other involving the exchange of many millions of dollars. The

 Sexual Abuse Survivors’ Committee urged that this relationship “warrants investigation to

 determine if NGF’s assets are property of the estate and whether USAG’s powers under sections

 544-550 of the Bankruptcy Code, inclusive, can be used to bring NGF assets into the estate.”


 1
   The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
 2
   Capitalized terms not otherwise defined herein shall have the meanings given to them in the Objection.


                                                              1
Case 18-09108-RLM-11            Doc 498   Filed 05/14/19     EOD 05/14/19 14:12:20          Pg 2 of 11



 The term substantive consolidation is never used in the Motion and there are other theories under

 which some of NGF’s assets could be property of the estate including alter ego, that NGF was a

 mere instrumentality of the Debtor or that it was formed as part of a scheme to defraud creditors.

 Moreover, the Motion expressly states that the documents are sought to investigate the estates

 avoidance actions under sections 544-550 of the Bankruptcy Code which have nothing to do with

 substantive consolidation.

        The Class Action was filed after the Motion on April 29, 2019 seeking damages on

 various theories based on sexual assault and rape. Neither the Sexual Abuse Survivors’

 Committee nor its members were named plaintiffs in the Class Action. The Class Action was

 dismissed against NGF and the Debtor on May 2, 2019 and is no longer pending against either

 the Debtor or NGF.

        NGF contends that the Sexual Abuse Survivors’ Committee may not conduct Rule 2004

 discovery against it because (i) the dismissed Class Action filed by another party bars the

 discovery under the pending proceeding rule; (ii) the Sexual Abuse Survivors’ Committee lacks

 standing to seek substantive consolidation so it lacks standing to conduct any Rule 2004

 discovery, including discovery relating to avoidance actions; and (iii) NGF believes the

 substantive consolidation claims lack merit so Rule 2004 discovery concerning the claims should

 not be permitted. None of these arguments support denying the Motion. In fact, to state NGF’s

 arguments is to refute them.

 A.     The Broad Scope of Rule 2004.

        FRBP Rule 2004 permits a party in interest to examine any entity. The scope of

 examination “may relate only to the acts, conduct, or property or to the liabilities and financial

 condition of the debtor, or to any matter which may affect the administration of the debtor’s

 estate, or to the debtor’s right to a discharge.” See FRBP Rule 2004.

                This purpose is to allow inquiry into the debtor’s acts, conduct or
                financial affairs so as to discover the existence and location of
                assets of the estate. See 2 Collier on Bankruptcy ¶ 343.04; In re
                Coffee Cupboard, Inc., 128 B.R. 509, 514 (Bankr.E.D.N.Y.1991)
                (quoting Cameron v. United States, 231 U.S. 710, 717, 34 S.Ct.


                                                  2
Case 18-09108-RLM-11         Doc 498      Filed 05/14/19     EOD 05/14/19 14:12:20         Pg 3 of 11



                244, 246, 58 L.Ed. 448 (1914) (discussing § 21(a) of the
                Bankruptcy Act of 1898 from which Rule 2004 is partly derived)
                (the object of the examination of the debtor and other witnesses is
                “to show the condition of the estate and to enable the Court to
                discover its extent and whereabouts, and to come into possession
                of it, [so] that the rights of the creditor may be preserved”)).”

 In re Dinubilo, 177 B.R. 932, 940 (E.D. Cal. 1993) (emphasis added).

 B.     The Documents Sought by the Motion are Within
        the Scope of Rule 2004 and Not Protected by the “Pending Proceeding” Rule.

        NGF’s reliance on the pending proceeding rule is misplaced and the cases it cites cannot

 be read to limit or bar Rule 2004 discovery under the present circumstances. First, the Motion

 was filed before the Class Action by named plaintiffs that have no affiliation with the

 Committee. The Class Action is not pending against either NGF or the Debtor. Second, the

 cases relied upon by NGF are inapposite. They all demonstrate that the pending proceeding rule

 only applies when an action or contested matter is pending and the discovery is sought by a party

 to the action or proceeding against a party to the proceeding or affected by the pending

 proceeding. The following discussion of the cases relied upon by NGF demonstrates that the

 pending proceeding rule does not apply in this instance.

        In re Nat’l Risk Assessment, Inc., 547 B.R. 63, 65-66 (Bankr. W.D.N.Y. 2016) flatly

 rejects NGF’s position. In Nat’l Risk Assessment, creditors commenced a pre-petition action in

 state court against the debtor and two of its alleged officers. While that action was pending,

 other creditors filed an involuntary petition against the debtor which resulted in an order for

 relief under chapter 7. The chapter 7 trustee sought Rule 2004 discovery against the officers that

 were defendants in the state court action, among others, and the officers objected on the grounds

 that discovery should be allowed to proceed only in the context of the pending state court action

 relying on the pending proceeding rule. The court easily overruled the objection:




                                                  3
Case 18-09108-RLM-11          Doc 498     Filed 05/14/19     EOD 05/14/19 14:12:20       Pg 4 of 11



                 Although [the officers] may be defendants in an outstanding state
                 court action, the trustee is himself not a party to that action.
                 Consequently, the trustee has no ability to examine any of the
                 respondents at this time, except either in the context of Bankruptcy
                 Rule 2004 or a reopened meeting of creditors under 11 U.S.C. §
                 341. As between these later two options, Bankruptcy Rule 2004 is
                 sufficiently broad to allow to the trustee an option to choose its
                 application.

                 The pending proceeding rule imposes a potential restraint upon a
                 litigant’s ability to conduct an examination. However, with respect
                 to a trustee, the rule’s application arises only in those instances
                 where the trustee is already a party to an adversary proceeding or
                 contested matter involving the parties that he seeks to examine
                 under Bankruptcy Rule 2004. Because no such proceeding or
                 matter has been initiated, the pending proceeding rule has no
                 application in the present instance.
 Id. at 65-66.

        In re Bennett Funding Grp., Inc., 203 B.R. 24, 26-27 (Bankr. N.D.N.Y. 1996) is of no

 avail. The trustee served a Rule 2004 subpoena upon an individual after he commenced an

 adversary proceeding against her. The subject matter of the adversary proceeding and the Rule

 2004 discovery were not easily separable and the court found that the use Rule 2004 discovery

 would create a back door through which the trustee could circumvent the limitations of FRBP

 7026 et seq., which clearly applied because the trustee had already filed an adversary proceeding

 against the party form whom he sought Rule 2004 discovery. Id. at 30.

        In articulating the principles that govern the pending proceeding rule, the court observed

 that entities which are not parties to a pending adversary proceeding cannot avoid Rule 2004

 discovery because they do not have a legitimate claim to the additional procedural protections

 afforded by FRBP 7026 (“even after the trustee has commenced an adversary proceeding(s), the

 trustee may conduct Rule 2004 examinations of entities which are not parties to or are not

 affected by the pending adversary proceeding(s).”). Id. at 28-29.

        Neither In re Enron Corp., 281 B.R. 836, 838 (Bankr. S.D.N.Y. 2002), nor In re

 Dinubilo, 177 B.R. 932, 935 (E.D. Cal. 1993), support application of the pending proceeding

 rule. In Enron the Rule 2004 movant sought discovery related to a class action in which it was


                                                  4
Case 18-09108-RLM-11          Doc 498     Filed 05/14/19     EOD 05/14/19 14:12:20         Pg 5 of 11



 the lead plaintiff and in Dinubilo, the trustee sought Rule 2004 discovery against United States

 Trustee and his staff counsel after the United States Trustee filed motion to remove him from the

 case and all other cases in which he served.

        In re J & R Trucking, Inc., 431 B.R. 818, 819-20 (Bankr. N.D. Ind. 2010), also relied

 upon by NGF, addresses the scope of a Rule 2004 exam but does not involve the pending

 proceeding rule. The case is easily distinguishable. J&R Trucking is a chapter 7 case in which

 non-debtor third parties, on their own behalf, and not on behalf of the estate, sought Rule 2004

 discovery to determine (i) whether other non-debtor third parties under common control with the

 debtor might be liable to the Rule 2004 proponents under various theories and (ii) to investigate

 pre-petition transfers which might be recoverable by the trustee.

        The bankruptcy court denied the Rule 2004 discovery because it did not seek information

 regarding the administration of the estates. The court reasoned that “movants’ desire to identify

 third parties who may also be liable to them” is not the court’s concern or the purpose of Rule

 2004. “No matter how artfully one tries to disguise the requested examinations, by dressing

 them up in the robes of bankruptcy administration, their real purpose is to identify another entity

 movants might be able to collect from” . . . Movants have other tools and other fora which they

 can use to investigate their rights against third parties and to collect the amounts they are owed.

 They should use them and not Rule 2004.” Id. at 822-23.

        In rejecting the movant’s argument that they sought to conduct Rule 2004 discovery to

 investigate the trustee’s avoidance actions, the court emphasized that the discovery was sought in

 chapter 7 cases:

                [I]t is the trustee’s the duty to investigate the debtor’s affairs and
                the rights of the bankruptcy estate. To the extent the movants seek
                to discover avoidable transfers, they are intruding upon the
                trustee’s duties and taking those duties upon themselves. While
                the court may understand their curiosity, there is nothing the
                movants could do with that information once they got it. They
                could not act upon it, or seek to recover any such transfers; the
                trustee has the exclusive right to do so. So, in that sense, their
                examination can serve no real purpose. While movants may
                genuinely want to help the trustee, should the trustee desire that


                                                  5
Case 18-09108-RLM-11         Doc 498      Filed 05/14/19     EOD 05/14/19 14:12:20         Pg 6 of 11



                assistance, they must do so directly, acting for, at the behest of, and
                in the name of the trustee, and not indirectly, in a manner that
                treats the trustee as simply an incidental beneficiary of an endeavor
                actually undertaken for someone else.
 Id. at 822.

         The facts before this Court are entirely different. This is a chapter 11 case and the Debtor

 is still in possession. The conflict created by the Debtor’s control of NGF and their identity of

 interest disables the Debtor from objectively investigating the estate’s claims against NGF. The

 trustee in J&R Trucking did not suffer from this disability. Moreover, the Sexual Abuse

 Survivors’ Committee is not seeking to investigate claims it may have against NGF, but rather to

 investigate the estate’s claims in because the Debtor’s conflict precludes it from doing so

 objectively.

 C.      The Rule 2004 Discovery is Sought for a Legitimate Purpose.

         Ignoring the language of the Motion, NGF mischaracterizes the Motion as seeking

 discovery for the sole purpose of allowing the Sexual Abuse Survivors’ Committee to seek

 substantive consolidation. Based on this false premise, NGF argues that the discovery is

 improper because the Sexual Abuse Survivors’ Committee lacks standing to seek substantive

 consolidation and NGF may not be substantively consolidated with the Debtor.

         1.     NCF Falsely Characterizes the Sole
                Basis of the Motion as Substantive Consolidation.
         The Motion sets forth the financial entanglement and long history of transactions between

 the Debtor and NGF and seeks the documents requested to investigate the estate’s claims under

 Bankruptcy Code sections 544-550 as well as to determine if any of NGF’s assets may belong to

 the estate under any colorable legal theory. The term substantive consolidation is never referred

 to in the Motion.

         2.     NGF Improperly Conflates Standing to Bring a
                Claim on Behalf of the Estate with Standing to Seek Rule 2004 Discovery.
         Without citing authority, NGF argues that unless the Sexual Abuse Survivors’ Committee

 first obtains standing to bring claims on behalf of the estate, it may not conduct discovery under


                                                  6
Case 18-09108-RLM-11         Doc 498      Filed 05/14/19    EOD 05/14/19 14:12:20            Pg 7 of 11



 Rule 2004. This argument flies in the face of the language of Rule 2004 which permits “any

 party in interest” to seek discovery under the Rule and does not require the existence of

 underlying litigation. NGF suggests that the Sexual Abuse Survivors’ Committee can only

 conduct Rule 2004 discovery if it first seeks and obtains standing from the Court to pursue

 claims on behalf of the estate upon a showing, among other things, that the claims are colorable.

 [Objection, p. 11.] If NGF’s view of the law is correct, no Sexual Abuse Survivors’ Committee

 could ever obtain standing to pursue claims on behalf of an estate because the claims could not

 be investigated to determine if they are “colorable.”

        3.      NGF Misstates the Law on Standing.
        Not only has NGF incorrectly characterized the basis of the Motion, it also incorrectly

 informs the Court that substantive consolidation is based on sections 544,547 and 548 of the

 Bankruptcy Code. [Objection, p. 9.] From this false premise, NGF argues that the Sexual Abuse

 Survivors’ Committee lacks standing to bring a substantive consolidation claim, presumably

 relying on the language in sections 544, 547 and 548 that only permits a trustee to avoid

 fraudulent and preferential transfers under those sections. Of course, these sections have no

 application to substantive consolidation which is an equitable remedy under section 105 of the

 Bankruptcy Code which does not limit standing to the trustee.

        NGF cites a single case (In re Cyberco Holdings, Inc., 431 B.R. 404 (Bankr. W.D. Mich.

 2010)) for the proposition that only the trustee/debtor-in-possession has standing to seek

 substantive consolidation. The court based its decision on its unusual “view that substantive

 consolidation is accomplished through the application sections “542(a) and 502(j)—as opposed

 to through amorphous notions of equity and dubious interpretations of Section 105” and found

 individual creditors did not have standing to seek turnover under section 542. Id. at 425, 431-32.

        NGF also fails to apprise the Court that this decision expresses the minority view on

 standing to bring a substantive consolidation claim. The majority view is that creditors do have

 standing to bring substantive consolidation claims, SE Prop. Holdings, LLC v. Stewart (In re

 Stewart), 571 B.R. 460, 467 (Bankr. W.D. Okla. 2017) (citing cases).


                                                  7
Case 18-09108-RLM-11             Doc 498       Filed 05/14/19         EOD 05/14/19 14:12:20            Pg 8 of 11



         4.       Whether NGF Can Be Substantively
                  Consolidated with the Debtor is Not Before the Court.
         The issue of whether NGF is properly substantively consolidated with the Debtor is not

 before the Court. The Court does not need to decide the issue because substantive consolidation

 claims are not the primary basis for the Sexual Abuse Survivors’ Committee’s Rule 2004

 discovery. Moreover, while the Seventh Circuit has not ruled one way or another on whether a

 non-debtor can be substantively consolidated with a debtor, other Circuits have ruled that they

 can be. In re Bonham, 229 F.3d 750, 766 (9th Cir. 2000). Similarly, the Seventh Circuit has not

 determined whether a non-debtor non-profit entity can be substantively consolidated and the

 Eighth Circuit’s decision in In re Archdiocese of Saint Paul & Minneapolis, 888 F.3d 944 (8th

 Cir. 2018) so holding 3 is not binding on this Court.
         WHEREFORE, the Sexual Abuse Survivors’ Committee submits that the Objection

 filed by the NGF should be overruled and the Motion should be granted.


                                                     Respectfully submitted,
                                                     PACHULSKI STANG ZIEHL & JONES LLP
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                                                              -and-


 3
  The Eighth Circuit did not determine whether a non-profit non-debtor could be substantively consolidated under an
 alter-ego theory or a on the grounds that the non-profit was formed as part of a fraudulent scheme.


                                                         8
Case 18-09108-RLM-11          Doc 498     Filed 05/14/19     EOD 05/14/19 14:12:20          Pg 9 of 11



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 14, 2019, a copy of the foregoing Reply to Objection of the
 National Gymnastics Foundation to the Additional Tort Claimants Committee of Sexual Abuse
 Survivors’ Motion Pursuant to Rule 2004 Directing Production of Documents and Materials was
 filed electronically. Notice of this filing will be sent to the following parties through the Court’s
 Electronic Case Filing System. Parties may access this filing through the Court’s system.

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                                                   9
Case 18-09108-RLM-11    Doc 498   Filed 05/14/19   EOD 05/14/19 14:12:20   Pg 10 of 11



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                                         10
Case 18-09108-RLM-11                   Doc 498          Filed 05/14/19             EOD 05/14/19 14:12:20   Pg 11 of 11



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        I further certify that on May 14, 2019, a copy of the foregoing Reply to Objection of the
 National Gymnastics Foundation to the Additional Tort Claimants Committee of Sexual Abuse
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                                                                           /s/ Meredith R. Theisen
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